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 1   LAW OFFICES OF SCOTT L. TEDMON
     A Professional Corporation
 2
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 5

 6   Attorney for Defendant
     ALEKSANDR MIKHAYLOV
 7

 8

 9                                 UNITED STATES DISTRICT COURT

10                           FOR THE EASTERN DISTRICT OF CALIFORNIA

11
                                                )
12
     UNITED STATES OF AMERICA,                  )   Case No. 2:12-CR-0322-MCE
                                                )
13
                                                )   STIPULATION AND ORDER RE:
                              Plaintiff,        )
14
                                                    CONTINUANCE OF STATUS
                                                )   CONFERENCE
             vs.                                )
15
                                                )
     ALEKSANDR LASTOVSKIY, et al.,              )
16
                                                )   DATE: March 26, 2015
                             Defendants.        )   TIME: 9:00 a.m.
17
                                                )   JUDGE: Morrison C. England, Jr.
18                                              )

19           The United States of America, by and through Assistant U.S. Attorney Heiko
20
     P. Coppola; defendant Aleksandr Lastovskiy, by and through counsel Kenny N.
21
     Giffard; defendant Tatyana Shvets, by and though counsel Joseph A. Welch;
22
     defendant Aleksandr Mikhaylov, by and through counsel Scott L. Tedmon; and
23

24   defendant Hovik Mkrtchian, by and through counsel Richard E. Nahigian, hereby

25   stipulate and agree as follows:
26
             1. The status conference is currently set for March 26, 2015 at 9:00 a.m.
27
             2. By this stipulation, the above-named defendants now move to continue
28
     the status conference to Thursday, June 4, 2015 at 9:00 a.m., and to exclude time


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 1   from March 26, 2015 through June 4, 2015 under Local Code T4. Plaintiff does not
 2
     oppose this request.
 3
             3. The basis upon which the parties agree to this proposed continuance of
 4
     the status conference is as follows:
 5

 6           a.       The government has produced voluminous discovery containing

 7                    witness statements, banking records, and investigative materials. The
 8
                      government advises it will soon be producing additional discovery to
 9
                      defense counsel. As such, defense counsel needs additional time to
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                      review and analyze the additional discovery produced by the
11

12                    government, conduct independent defense investigation, and consult

13                    with their respective clients.
14
              b.      Counsel for each defendant believes that failure to grant the above-
15
                      requested continuance would deny their respective client the
16
                      reasonable time necessary for effective preparation, taking into
17

18                    account the exercise of due diligence.

19            c.      Plaintiff does not object to the continuance.
20
              d.      Based on the above-stated findings, the ends of justice served by
21
                      continuing the status conference as requested outweigh the best
22
                      interest of the public and the defendants in a trial within the original
23

24                    date prescribed by the Speedy Trial Act.

25            e.      For the purpose of computing time under the Speedy Trial Act, 16
26
                      U.S.C. § 3161, et seq., within which trial must commence, the time
27
                      period from March 26, 2015 to June 4, 2015, inclusive, is deemed
28
                      excludable pursuant to 18 U.S.C. § 3161 (h)(7)(a), B(iv); [Local Code


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 1                    T4] because it results from a continuance by the Court at the
 2
                      defendants request on the basis of the Court’s finding that the ends of
 3
                      justice served by taking such action outweigh the best interest of the
 4
                      public and the defendants in a speedy trial.
 5

 6           4. Nothing in this stipulation and order shall preclude a finding that other

 7   provisions of the Speedy Trial Act dictate that the additional time periods are
 8
     excludable from the period within which a trial must commence.
 9
             5. Finally, Scott L. Tedmon has been authorized by all counsel to sign this
10
     stipulation on their behalf.
11

12           Based on the foregoing, the undersigned parties agree and stipulate the

13   March 26, 2015 status conference be continued to June 4, 2015 at 9:00 a.m.
14
     IT IS SO STIPULATED.
15
     DATED: March 23, 2015                 BENJAMIN B. WAGNER
16                                         United States Attorney
17
                                           /s/ Heiko P. Coppola
18                                         HEIKO P. COPPOLA
                                           Assistant United States Attorney
19

20
     DATED: March 23, 2015                 LAW OFFICES OF DONALD MASUDA
21
                                           /s/ Kenny N. Giffard
22                                         KENNY N. GIFFARD
                                           Attorney for Defendant Aleksandr Lastovskiy
23

24
     DATED: March 23, 2015                 LAW OFFICES OF HINTZ & WELCH
25
                                           /s/ Joseph A. Welch
26
                                           JOSEPH A. WELCH
27                                         Attorney for Defendant Tatyana Shvets

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                                                  3
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 1   DATED: March 23, 2015        LAW OFFICES OF SCOTT L. TEDMON
 2
                                  /s/ Scott L. Tedmon
 3                                SCOTT L. TEDMON
                                  Attorney for Defendant Aleksandr Mikhaylov
 4

 5
     DATED: March 23, 2015        LAW OFFICES OF RICHARD E. NAHIGIAN
 6
                                  /s/ Richard E. Nahigian
 7                                RICHARD E. NAHIGIAN
                                  Attorney for Defendant Hovik Mkrtchian
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 9

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12                                   ORDER

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             IT IS SO ORDERED.
14

15   Dated: March 26, 2015

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     Stipulation and Order                         Case No. 2:12-CR-0322-MCE
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